            Case 3:21-cv-06118-JD        Document 114    Filed 03/30/23   Page 1 of 3


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     Research LLC, Dfinity Foundation and
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18                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
19
20   DANIEL VALENTI, Individually and on Behalf         Case No.: 3:21-cv-06118-JD
     of All Others Similarly Situated,
21                                                      DEFENDANTS’ STATEMENT OF
                                 Plaintiff,             RECENT DECISION PURSUANT TO
22                                                      CIVIL LOCAL RULE 7-3(d)(2)
               v.
23

24   DFINITY USA RESEARCH LLC, DFINITY
     FOUNDATION and DOMINIC WILLIAMS,
25
                                 Defendants.
26

27

28


       DEFENDANTS’ STATEMENT OF RECENT DECISION PURSUANT TO CIVIL LOCAL RULE 7-3(d)(2)
                                 CASE NO. 3:21-CV-06118-JD
             Case 3:21-cv-06118-JD         Document 114         Filed 03/30/23      Page 2 of 3


 1          Pursuant to Civil Local Rule 7-3(d)(2), Defendants Dfinity USA Research, LLC, Dfinity

 2   Foundation and Dominic Williams (together, “Defendants”) respectfully submit this Statement of

 3   Recent Decision in connection with their Opposition to Plaintiffs’ Administrative Motion for

 4   Leave to File a Notice of Supplemental Evidence in Opposition to Defendants’ Motion to

 5   Disqualify (ECF No. 111).

 6          Attached hereto as Exhibit 1 is a true and correct copy of an Amended Order entered on

 7   March 29, 2023 in Roche Freedman LLP v. Jason Cyrulnik, No. 1:21-cv-01746 (S.D.N.Y.), which

 8   is a dispute between (1) FNF and certain of its partners and former partners (including Messrs.

 9   Freedman, Normand and Roche); and (2) their former partner Jason Cyrulnik. The Amended

10   Order denies Mr. Roche’s request for leave to serve an expert report beyond the deadline for expert

11   discovery. The Amended Order notes that “[t]he video clips with which the report is concerned

12   have been public since August of last year and have had serious implications for Mr. Roche and

13   the RF parties in this litigation and others,” and that “Mr. Roche’s request also comes a full week

14   after the close of all expert discovery.” Ex. 1 at 1. The Amended Order explains that “[t]his is

15   particularly negligent given that the Court has already extended the original expert discovery

16   deadline, and that the parties very recently litigated that deadline—after February 20, 2023, when

17   Mr. Roche purports to have retained his new expert.” Id. (internal citations omitted). The

18   Amended Order also states:

19
            The severe economic and reputational cost these videos have imposed on
20          Mr. Roche and his former firm have provided ample incentive for the RF parties
21          to thoroughly investigate their authenticity. Yet Mr. Roche argues that despite
            having “maintained since their release that the videos . . . were distorted,” it had
22          not occurred to him to retain an expert on that point until it was suggested by a
            “friend” in February 2023.
23

24   Id. at 2 (citations omitted). The expert report the Amended Order rejected is the same expert report

25   FNF seeks leave to file in connection with Defendants’ pending Motion to Disqualify in the instant

26   litigation. See Plaintiffs’ Administrative Motion for Leave to File a Notice of Supplemental

27   Evidence in Opposition to Defendants’ Motion to Disqualify (ECF No. 109).

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       DEFENDANTS’ STATEMENT OF RECENT DECISION PURSUANT TO CIVIL LOCAL RULE 7-3(d)(2)
                                 CASE NO. 3:21-CV-06118-JD
              Case 3:21-cv-06118-JD   Document 114    Filed 03/30/23    Page 3 of 3




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